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                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                                   CASE NO. 21-53732-JWC

VIRGINIA MARIE JACK,                                     CHAPTER: 7

                DEBTORS.                                 JUDGE: JUDGE JEFFERY W.
                                                         CAVENDER
TOGETHER CREDIT UNION,                                   CONTESTED MATTER

                MOVANT,
V.

VIRGINIA MARIE JACK, DEBTOR,
JORDAN E. LUBIN, TRUSTEE

                RESPONDENTS.

                MOTION TO MODIFY AUTOMATIC STAY AS TO DEBTOR
            AND WAIVER OF THE 30-DAY REQUIREMENT OF 11 U.S.C. § 362(d)

         COMES NOW Together Credit Union, (“Movant” hereinafter), a secured creditor and/or
party in interest in the above-captioned matter, and respectfully shows the Court as follows:
1.       This Motion is made pursuant to § 362(d) of the Bankruptcy Code for relief from the
automatic stay for all purposes allowed under applicable law and the contract between the parties,
including, but not limited to, the right to initiate a replevin action to seek possession of on certain
Collateral pursuant to the underlying loan documents and applicable state law.
2.       The Debtor filed a petition under Chapter 7 of the Bankruptcy Code on May 12, 2021.
3.       The Bankruptcy Code has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 157 and
1334 and 11 U.S.C. § 362.
4.       Jordan E. Lubin is the duly designated Chapter 7 Trustee.
5.       Movant is the holder of a loan secured by certain real Collateral in which Virginia Marie Jack
(herein “Debtor”) has an interest, in personal Collateral referred as 2016 Jeep Renegade VIN#
ZACCJBDT4GPD80961, (collectively the “Collateral”), by virtue of a Loan Agreement and
Consumer Credit Disclosure Statement (the “Contract”) executed by Debtor, a copy of which is
attached hereto as Exhibit A. Debtor is owner of the Collateral and liable on the Contract.
6.       The Debtor’s Statement of Intention states the Debtor proposes to retain and reaffirm the
Collateral/Collateral. As of July 8, 2021, Debtor is in default to Movant in the amount of $1,016.55,
representing the May 12, 2018 through July 12, 2021 with monthly payments in the amount of
$338.85 per month. Therefore, Movant is not receiving payments on the account and the Collateral is
depreciating in value. The stay should be terminated for cause, including the lack of adequate
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protection of an interest in the Collateral of Movant, pursuant to 11 U.S.C § 362(d)(1).
7.      As of July 8, 2021, the total unpaid principal balance is $13,129.80 and the loan balance is
$13,279.93
8.      Movant, by and through undersigned counsel, waives the requirement of 11 U.S.C. §362(d)
and agrees that, if a hearing cannot be held within thirty (30) days from the filing of this Motion, said
hearing shall be set on the next available date.
9.      Because of the default and clear inability of Debtor’s to make all required monthly payments,
Movant is not adequately protected. Movant’s interest in the Collateral would be irreparably harmed
by the continuation of the automatic stays under §362.
10.     Because the loan documents so provide, Movant is entitled to reasonable attorney's fees and
costs of $1,138.00 incurred in bringing this motion.
11.     Movant requests that the provisions of Fed. R. Bankr. P 4001(a)(3) be waived and that in the
event the automatic stay is terminated as to the Collateral by order of the court and the case
subsequently converts to another bankruptcy chapter, that the stay relief order remains in effect.
12.     Movant is without sufficient information to form a belief whether there are additional liens
on the Collateral or to determine the amount of any encumbrances that may consume any available
equity in the Collateral. Debtor’s Schedules indicate that there are no additional liens on the
Collateral. Movant’s loan balance, along with costs of sale render little or no equity in the Collateral
to benefit the estate.
13.     Should stay relief be granted as to the Collateral, Movant, pursuant to terms of the Contract,
may foreclose its security interest and seek possession of the Collateral.
15.     Movant requests that if the stay is modified that Movant be permitted to contact Debtor(s)
and/or Debtor(s)' counsel, as appropriate, through its agents, servicers and representatives for the
purpose to enter into discussion and consideration of loss mitigation options, as relating to the loan
documents. Movant asserts that Debtor(s) and their counsel are responsible for filing any court
documents required for approval of any such agreement that may arise from such discussions.
16.     Pursuant to applicable local rules and O.C.G.A. § 44-14-162.2, the entity who has full
authority to negotiate, amend or modify the terms of the aforementioned indebtedness is: Together
Credit Union, Attn: Bankruptcy, 423 Lynch St., St. Louis, MO 63118
        WHEREFORE, Movant moves this Court for an Order, after Notice and Hearing,
terminating the automatic stay as to Movant and the Collateral so that Movant (and any
successors or assigns) may take any and all steps under non-bankruptcy law necessary to
exercise any and all rights it may have under the law and its loan documents; to enforce its
remedies to foreclose upon and obtain possession of the Collateral; waiving the right to a hearing
within thirty (30) days as provided by 11 U.S.C. § 362(e); that awards Movant its reasonable fees
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and costs for this Motion; that pursuant to 11 U.S.C. § 362 directs Trustee to abandon the
Collateral; waiving the provisions of Fed. R. Bankr. P. 4001(a)(3), and for such other and further
relief as the Court deems just and appropriate.


       RESPECTFULLY SUBMITTED this the 26th of July, 2021.


                                                  /s/ Julian Cotton
                                                  JULIAN COTTON, ESQ.
                                                  Georgia Bar # 823134
                                                  PADGETT LAW GROUP
                                                  6267 Old Water Oak Road, Suite 203
                                                  Tallahassee, FL 32312
                                                  (850) 422-2520 (telephone)
                                                  (850) 422-2567 (facsimile)
                                                  Julian.Cotton@padgettlawgroup.com
                                                  Attorney for Together Credit Union
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                DEBTORS.                                  JUDGE: JUDGE JEFFERY W.
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TOGETHER CREDIT UNION,                                    CONTESTED MATTER

                MOVANT,
V.

VIRGINIA MARIE JACK, DEBTOR,
JORDAN E. LUBIN, TRUSTEE

                RESPONDENTS.

                                    CERTIFICATE OF SERVICE

         I, the undersigned, an attorney with Padgett Law Group, certify that I am, and at all times
hereinafter mentioned was more than 18 years of age; and
         That on the 26th day of July, 2021, I served a copy of the within Notice of Hearing
and Motion to Modify Automatic Stay as to Debtors and Waiver of the 30-Day Requirement of
11 U.S.C. § 362(e), filed herein, by first class U.S. Mail with adequate prepaid postage, or
electronically via e-mail, to said respondents in this bankruptcy matter as follows:
By U.S. First Class Mail
Debtor
Virginia Marie Jack
290 MLK Jr Drive SE, Apt 3030
Atlanta, GA 30312

By Electronic Service
Attorney
Charles M. Clapp
Law Offices of Charles Clapp, LLC
5 Concourse Parkway NE
Suite 3000
Atlanta, GA 30328
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Trustee
Jordan E. Lubin
Lubin Law, P.C.
Building 2
8325 Dunwoody Place
Atlanta, GA 30350-3307


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed On: 07/26/2021                      /s/ Julian Cotton
                                             JULIAN COTTON, ESQ.
                                             Georgia Bar # 823134
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